66 F.3d 315
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wardell BROWN, Plaintiff--Appellant,v.John TAYLOR, Warden;  W. Helmick, Food Service Department;Mr. Georganzis, Food Service Department;  D. Hart;Cindy Payne;  Sergeant Riley,Defendants--Appellees.
    No. 95-7002.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 24, 1995.Decided Sept. 19, 1995.
    
      Wardell Brown, appellant pro se.
      Susan Campbell Alexander, Assistant Attorney General, Richmond, VA, for appellees.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint and denying his motion for reconsideration.  We have reviewed the record and the district court's opinions and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Taylor, No. CA-94-124-R (W.D.Va. June 5, 1995 &amp; June 16, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    